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HTTP Live Streaming
Send audio and video to iOS, tvOS, and macOS devices.




Overview
HTTP Live Streaming (HLS) sends audio and video over HTTP from an ordinary web server for
playback on iOS-based devices—including iPhone, iPad, iPod touch, and Apple TV—and on
desktop computers (macOS). Using the same protocol that powers the web, HLS deploys
content using ordinary web servers and content delivery networks. HLS is designed for reliability
and dynamically adapts to network conditions by optimizing playback for the available speed of
wired and wireless connections.

HLS supports the following:

     Live broadcasts and prerecorded content (video on demand, or VOD)

     Multiple alternate streams at different bit rates

     Intelligent switching of streams in response to network bandwidth changes

     Media encryption and user authentication



Encode and deliver streaming media
The following figure shows the three components of an HTTP Live Stream: the server
component, the distribution component, and the client software.




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In a typical configuration, a hardware encoder takes audio-video input, encodes it as HEVC video
and AC-3 audio, and outputs a fragmented MPEG-4 file or an MPEG-2 transport stream. A
software stream segmenter then breaks the stream into a series of short media files, which are
placed on a web server. The segmenter also creates and maintains an index file containing a list
of the media files. The URL of the index file is published on the web server. Client software reads
the index, then requests the listed media files in order and displays them without any pauses or
gaps between segments.



Prepare media with the server component
The server component is responsible for taking input streams of media and encoding them
digitally. It encapsulates them in a format suitable for delivery and prepares the encapsulated
media for distribution.

For live events, the server requires a media encoder, which can be off-the-shelf hardware, and a
way to break the encoded media into segments and save them as files, which can either be
software such as the media stream segmenter provided by Apple or part of an integrated third-
party solution.



Deliver files with the distribution component
The distribution system is a web server or a web-caching system that delivers the media files
and index files to the client over HTTP. No custom server modules are required to deliver the
content, and typically very little configuration is needed on the web server. To actually deploy
HTTP Live Streaming, you need to create either an HTML page for browsers or a client app to act
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as a receiver. You also need the use of a web server and a way to encode live streams as
fragmented MPEG-4 media files containing HEVC or H.264 video, and AAC or AC-3 audio.



Access media through client software
Client software is responsible for determining the appropriate media to request, downloading
those resources, and then reassembling them so that the media can be presented to the user in
a continuous stream. For the rules governing the interaction between an HLS player and its
server, see HTTP Live Streaming 2nd Edition.

Apple provides several frameworks that support HTTP Live Streaming, including AVKit,
AVFoundation, and WebKit. Support has been available since iOS 3.0 and Safari 4.0, so there’s
no need to develop your own client software.

However, if you do develop your own client software, begin by fetching the index file using a URL
that identifies the stream. The index file, in turn, specifies the location of the available media
files, decryption keys, and any alternate streams available. For the selected stream, download
each available media file in sequence. Each file contains a consecutive segment of the stream.
Once it has a sufficient amount of data downloaded, present the reassembled stream to the
user.



    Important
    Your client is responsible for fetching any decryption keys, authenticating or presenting a
    user interface to allow authentication, and decrypting media files as needed.



Continue this process until your client encounters the EXT-X-ENDLIST tag in the index file. If no
EXT-X-ENDLIST tag is present, the index file is part of an ongoing broadcast. During ongoing
broadcasts, load a new version of the index file periodically. Look for new media files and
encryption keys in the updated index and add these URLs to the playback queue.



Topics

Essentials
         Deploying a Basic HTTP Live Streaming (HLS) Stream

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         Create a basic webpage to deliver HLS.

         Preparing Audio for HTTP Live Streaming
         Encode your media properly to ensure synchronized audio and video playback.



Stream creation
Learn to create a stream for ingestion by apps enabled with HTTP Live Streaming. Ensure correct
playlist formatting and adherence to guidelines.

         Example playlists for HTTP Live Streaming
         View and compare playlists for different HLS applications.

         About the EXT-X-VERSION tag
         Find the protocol version that corresponds with the HLS features your app supports.



Tool usage and validation
Use the provided tools to segment your stream, create multivariant playlists, and verify the
output of your own tools.

         Using Apple’s HTTP Live Streaming (HLS) Tools
         Segment your video stream and create media playlists for successful transmission with
         Apple’s provided tools.



Specifications and other documents
         HTTP Live Streaming (HLS) authoring specification for Apple devices
         Learn the requirements for live and on-demand audio and video content delivery using HLS.

         About the Common Media Application Format with HTTP Live Streaming (HLS)
         Learn the Common Media Application Format as it applies to HLS.

         Enabling Low-Latency HTTP Live Streaming (HLS)
         Add Low-Latency HLS to your content streams to maintain scalability.

         Links to additional specifications and videos

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         Review additional specifications and documents.

         Videos about HLS
         Review informational videos about HTTP Live Streaming.

         Providing metadata for xHE-AAC video soundtracks
         Ensure volume normalization by including metadata for loudness and dynamic range
         control.

         Adjusting anchor loudness
         Adjust anchor loudness when measurements of speech-gated loudness for a full mix may
         be inaccurate, such as when speech activity is low.

         Providing JavaScript Object Notation (JSON) chapters
         Prepare JSON chapters for HTTP Live Streaming.




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                                          HTTP Live Streaming                                    playlist construction




Article

Video on Demand playlist construction
Understand the basic composition for a Video on Demand playlist.




Overview
For Video on Demand (VOD) sessions, media files are available representing the entire duration of
the presentation. The index file is static and contains a complete list of URLs to all media files
created since the beginning of the presentation. This kind of session allows the client full access to
the entire program.



Example
This code is an example of a Video on Demand playlist:


   #EXTM3U
   #EXT-X-PLAYLIST-TYPE:VOD
   #EXT-X-TARGETDURATION:10
   #EXT-X-VERSION:4
   #EXT-X-MEDIA-SEQUENCE:0
   #EXTINF:10.0,
   http://example.com/movie1/fileSequenceA.ts
   #EXTINF:10.0,
   http://example.com/movie1/fileSequenceB.ts
   #EXTINF:10.0,
   http://example.com/movie1/fileSequenceC.ts
   #EXTINF:9.0,
   http://example.com/movie1/fileSequenceD.ts
   #EXT-X-ENDLIST


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These are the tags used in the Video on Demand playlist example:

EXTM3U: Indicates that the playlist is an extended M3U file. This type of file is distinguished from a
basic M3U file by changing the tag on the first line to EXTM3U. All HLS playlists must start with this
tag.

EXT-X-PLAYLIST-TYPE: Provides mutability information that applies to the entire playlist file. This
tag may contain a value of either EVENT or VOD. If the tag is present and has a value of EVENT, the
server must not change or delete any part of the playlist file (although it may append lines to it). If
the tag is present and has a value of VOD, the playlist file must not change.

EXT-X-TARGETDURATION: Specifies the maximum media-file duration.

EXT-X-VERSION: Indicates the compatibility version of the playlist file. The playlist media and its
server must comply with all provisions of the most recent version of the IETF Internet-Draft of the
HTTP Live Streaming specification that defines that protocol version.

EXT-X-MEDIA-SEQUENCE: Indicates the sequence number of the first URL that appears in a playlist
file. Each media file URL in a playlist has a unique integer sequence number. The sequence number
of a URL is higher by 1 than the sequence number of the URL that preceded it. The media sequence
numbers have no relation to the names of the files.

EXTINF: A record marker that describes the media file identified by the URL that follows it. Each
media file URL must be preceded by an EXTINF tag. This tag contains a duration attribute that’s an
integer or floating-point number in decimal positional notation that specifies the duration of the
media segment in seconds. This value must be less than or equal to the target duration.



    Important
    Always use floating-point EXTINF durations (supported in protocol version 3). This allows the
    client to minimize round-off errors when seeking within the stream.



EXT-X-ENDLIST: Indicates that no more media files will be added to the playlist file.

The VOD playlist example above uses full pathnames for the media file playlist entries. While this is
allowed, using relative pathnames is preferable. Relative pathnames are more portable than absolute
pathnames and are relative to the URL of the playlist file. Using full pathnames for the individual
playlist entries often results in more text than using relative pathnames. Here’s the same playlist with
relative pathnames:


   #EXTM3U
   #EXT-X-PLAYLIST-TYPE:VOD

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   #EXT-X-TARGETDURATION:10
   #EXT-X-VERSION:4
   #EXT-X-MEDIA-SEQUENCE:0
   #EXTINF:10.0,
   fileSequenceA.ts
   #EXTINF:10.0,
   fileSequenceB.ts
   #EXTINF:10.0,
   fileSequenceC.ts
   #EXTINF:9.0,
   fileSequenceD.ts
   #EXT-X-ENDLIST



See Also

Basic playlists
         Live Playlist (sliding window) construction
         Understand the basic composition for a live session playlist.

         Event playlist construction
         Learn about the basic composition of an event session playlist.

         Creating a Multivariant Playlist
         Offer multiple playlist files to provide different encodings of the same content.




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                                                                     Playlist


Article

Creating a Multivariant Playlist
Offer multiple playlist files to provide different encodings of the same content.




Overview
The Multivariant Playlist describes all of the available variants for your content. Each variant is a
version of the stream at a particular bit rate and is contained in a separate playlist. The client
switches to the most appropriate variant based on the measured network bit rate. The client’s player
is tuned to minimize stalling of playback, to give the user the best possible streaming experience.




A Multivariant Playlist isn’t re-read. Once the client has read the playlist, it assumes the set of
variations isn’t changing. The stream ends as soon as the client sees the EXT-X-ENDLIST tag on
one of the individual variant playlists.
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Define variants
The following example shows a Multivariant Playlist that defines five different variants.


    #EXTM3U
    #EXT-X-STREAM-INF:BANDWIDTH=150000,RESOLUTION=416x234,CODECS="avc1.42e00a,mp4a.40.2"
    http://example.com/low/index.m3u8
    #EXT-X-STREAM-INF:BANDWIDTH=240000,RESOLUTION=416x234,CODECS="avc1.42e00a,mp4a.40.2"
    http://example.com/lo_mid/index.m3u8
    #EXT-X-STREAM-INF:BANDWIDTH=440000,RESOLUTION=416x234,CODECS="avc1.42e00a,mp4a.40.2"
    http://example.com/hi_mid/index.m3u8
    #EXT-X-STREAM-INF:BANDWIDTH=640000,RESOLUTION=640x360,CODECS="avc1.42e00a,mp4a.40.2"
    http://example.com/high/index.m3u8
    #EXT-X-STREAM-INF:BANDWIDTH=64000,CODECS="mp4a.40.5"
    http://example.com/audio/index.m3u8




The tags used in the playlist example are:

EXTM3U
   Indicates that the playlist is an extended M3U file. This type of file is distinguished from a basic
   M3U file by changing the tag on the first line to EXTM3U. All HLS playlists must start with this
   tag.

EXT-X-STREAM-INF
   Indicates that the next URL in the playlist file identifies another playlist file.

The EXT-X-STREAM-INF tag has the following parameters:

AVERAGE-BANDWIDTH
   (Optional, but recommended) An integer that represents the average bit rate for the variant
   stream.

BANDWIDTH
   (Required) An integer that is the upper bound of the overall bit rate for each media file, in bits
   per second. The upper bound value is calculated to include any container overhead that
   appears or will appear in the playlist.

FRAME-RATE
   (Optional, but recommended) A floating-point value that describes the maximum frame rate in a
   variant stream.


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HDCP-LEVEL
   (Optional) Indicates the type of encryption used. Valid values are TYPE-0 and NONE. Use
   TYPE-0 if the stream may not play unless the output is protected by HDCP.

RESOLUTION
   (Optional, but recommended) The optional display size, in pixels, at which to display the video
   in the playlist. This parameter should be included for any stream that includes video.

VIDEO-RANGE
   (Required depending on encoding) A string with valid values of SDR or PQ. If transfer
   characteristic codes 1, 16, or 18 aren’t specified, then this parameter must be omitted.

CODECS
   (Optional, but recommended) A quoted string containing a comma-separated list of formats,
   where each format specifies a media sample type that’s present in a media segment in the
   playlist file. Valid format identifiers are those in the ISO file format name space defined by RFC
   6381.


    Note
    While the CODECS parameter is optional, every EXT-X-STREAM-INF tag should include the
    attribute. This attribute provides a complete list of codecs that are necessary to decode a
    particular stream. It allows the client to distinguish between variants that are audio only and
    those that have both audio and video. The client then makes use of this information to provide a
    better user experience when switching streams.




See Also

Basic playlists
         Video on Demand playlist construction
         Understand the basic composition for a Video on Demand playlist.

         Live Playlist (sliding window) construction
         Understand the basic composition for a live session playlist.

         Event playlist construction
         Learn about the basic composition of an event session playlist.



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